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     Attorneys for Counter-Defendants The Public Investment Fund of the
18   Kingdom of Saudi Arabia and His Excellency Yasir O. Al-Rumayyan.
19                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
20                                  SAN JOSE DIVISION
21   LIV GOLF INC.,                                Case No. 5:22-cv-04486-BLF
22              Plaintiff,
                                                   JOINT STIPULATION AND
          v.                                       [PROPOSED] ORDER ON BRIEFING
23   PGA TOUR, INC.,                               SCHEDULE FOR MOTION TO DISMISS
              Defendant and Counter-Plaintiff,
24                                                 Judge: Hon. Beth Labson Freeman
          v.
25                                                 Date Filed: August 3, 2022
     LIV GOLF INC., PUBLIC INVESTMENT
     FUND OF THE KINGDOM OF SAUDI                  Trial Date: May 17, 2024
26   ARABIA, and YASIR OTHMAN AL-
     RUMAYYAN
27              Counter-Defendants.
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          JOINT STIPULATION AND [PROPOSED] ORDER ON BRIEFING SCHEDULE FOR MOTION TO DISMISS
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 1          Pursuant to Civil Local Rules 6-2 and 7-12, and Section IV.B of this Court’s Standing Order

 2 Regarding Civil Cases, Defendant and Counter-Plaintiff the PGA Tour, Inc. (the “TOUR”), and

 3 Counter-Defendants the Public Investment Fund of the Kingdom of Saudi Arabia and Yasir Othman

 4 Al-Rumayyan, by and through the undersigned counsel, stipulate and agree as follows:

 5          WHEREAS, on February 23, 2023, the TOUR filed an Amended Counterclaim in this

 6 matter. Dkt. No. 289;

 7          WHEREAS, on May 18, 2023, the Public Investment Fund of the Kingdom of Saudi Arabia

 8 (“PIF”) and Mr. Al-Rumayyan filed a Motion to Dismiss the Amended Counterclaim. Dkt. No.

 9 436;

10          WHEREAS, the TOUR intends to oppose PIF and Mr. Al-Rumayyan’s Motion to Dismiss

11 the Amended Counterclaim;

12          WHEREAS, counsel for the TOUR, PIF, and Mr. Al-Rumayyan have met, conferred and

13 agreed, subject to Court approval, to the schedule and timing below for the opposition and reply to

14 the Motion to Dismiss the Amended Counterclaim;

15          IT IS THEREFORE STIPULATED AND AGREED by the TOUR, PIF, and Mr. Al-

16 Rumayyan, through their undersigned counsel, as follows:

17          1.      The TOUR shall file and serve its opposition to the PIF and Mr. Al-Rumayyan’s

18 Motion to Dismiss the Amended Counterclaim on or before June 15, 2023;

19          2.      PIF and Mr. Al-Rumayyan shall file and serve their reply in support of the Motion

20 to Dismiss the Amended Counterclaim on or before July 7, 2023.

21          3.      By filing this Stipulation and Proposed Order, the TOUR, PIF and Mr. Al-Rumayyan

22 do not waive and expressly preserve all rights, objections and defenses, including, without

23 limitation, objections to jurisdiction.

24

25          SO STIPULATED AND AGREED.

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            JOINT STIPULATION AND [PROPOSED] ORDER ON BRIEFING SCHEDULE FOR MOTION TO DISMISS
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 1 Dated: May 30, 2023                By: /s/ Kimberly A. Havlin
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          JOINT STIPULATION AND [PROPOSED] ORDER ON BRIEFING SCHEDULE FOR MOTION TO DISMISS
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11
                                       Attorneys for Defendant and Counterclaimant
12                                     PGA Tour, Inc.

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        JOINT STIPULATION AND [PROPOSED] ORDER ON BRIEFING SCHEDULE FOR MOTION TO DISMISS
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 1                   ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1

 2         Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that

 3 concurrence in the filing of the document has been obtained from each of the other signatories to

 4 this document.

 5
           Executed on May 30, 2023.
 6
                                                            /s/ Kimberly A. Havlin_________________
 7                                                          Kimberly A. Havlin

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           JOINT STIPULATION AND [PROPOSED] ORDER ON BRIEFING SCHEDULE FOR MOTION TO DISMISS
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       Case 5:22-cv-04486-BLF Document 452 Filed 05/30/23 Page 6 of 6




 1         PURSUANT TO STIPULATION, IT IS SO ORDERED: Defendant and Counter-
 2 Plaintiff PGA Tour, Inc. shall file any opposition to the Motion to Dismiss the Amended

 3 Counterclaim by June 15, 2023. Counter-Defendants the Public Investment Fund of the Kingdom

 4 of Saudi Arabia and His Excellency Yasir Othman Al-Rumayyan shall file any reply in support of

 5 the Motion to Dismiss the Amended Counterclaim by July 7, 2023.

 6

 7
            May 30, 2023
 8 Dated: _____________________            _____________________________________
                                               HON. BETH LABSON FREEMAN
 9                                            UNITED STATES DISTRICT JUDGE
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           JOINT STIPULATION AND [PROPOSED] ORDER ON BRIEFING SCHEDULE FOR MOTION TO DISMISS
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